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     Attorneys for Defendant Chubb National
 8   Insurance Company

 9                             IN THE UNITED STATES DISTRICT COURT
10                                 FOR THE DISTRICT OF ARIZONA
11    Douglas Altschuler,                                      NO. CV-21-00119-TUC-DCB
12                            Plaintiff,                       NOTICE OF SERVICE OF
                                                               DISCOVERY
13    vs.
14    Chubb National Insurance Company, an                     (Assigned to the Honorable
      Indiana corporation,                                      David C. Bury)
15
16                            Defendant.
17
18           NOTICE IS HEREBY GIVEN Defendant Chubb National Insurance Company served

19   upon Plaintiff by e-mail on March 24, 2022, a copy of the following:

20           1.       First Set of Requests for Production to Plaintiff; and

21           2.       First Set of Non-Uniform Interrogatories to Plaintiff.

22   //

23   //

24   //

25   //

26   //
      Case 4:21-cv-00119-DCB Document 52 Filed 03/24/22 Page 2 of 3




 1   RESPECTFULLY SUBMITTED this 24th day of March, 2022.
 2
 3                               BROENING OBERG WOODS & WILSON, P.C.
 4
 5                               By: /s/ Jonathan Y. Yu
                                    Robert T. Sullivan
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 1                                    CERTIFICATE OF SERVICE
 2         I hereby certify that on this March 24, 2022, I electronically transmitted the foregoing
 3 with the Clerk of the Court using the CM/ECF system for filing, with copies submitted
 4 electronically to the following recipients:
 5
                                            Michael N. Poli
 6                                           Jeff G. Zane
                                         mpoli@pmzlaw.com
 7                                       jzane@pmzlaw.com
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 9                                      Attorneys for Plaintiff
10
11   By /s/ Nicole J. Smith
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